   Case 5:23-mc-00001-LGW-BWC Document 30 Filed 12/04/23 Page 1 of 14




               IN THE UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF GEORGIA
                        WAYCROSS DIVISION

COALITION FOR GOOD
GOVERNANCE and DONNA                      Civil Action No. 5:23-mc-00001-
CURLING,                                  LGW-BWC

Plaintiffs,                 In RE Subpoenas issued by the
                            United States District Court
v.                          For the Northern District of
                            Georgia, Atlanta Division,
COFFEE COUNTY BOARD OF Civil Action File No. 1:17-CV-
ELECTIONS AND REGISTRATION, 2989-AT

Defendant.


                    PLAINTIFFS’ STATUS REPORT
                 ON SEARCH RESULTS AND PROCESS
     The Court ordered the parties to submit an update on the progress of

the searches for responsive records. (Doc. 28) Plaintiffs hereby submit a

summary of the progress, which has been inadequate to achieve their goal

of obtaining all existing relevant documents for purposes of the pending

Curling trial not previously produced by CCBOER. This high-level summary

demonstrates that voluntary production by CCBOER is not viable and that,

as anticipated, the findings to date have proven the production under the

two subpoenas to be grossly inadequate.

                                    1
   Case 5:23-mc-00001-LGW-BWC Document 30 Filed 12/04/23 Page 2 of 14




     1. Scope of Requested CCBOER Searches and Results

     Plaintiffs have narrowed the scope of the requested searches

numerous times, going from categories described in the 2022 subpoenas, to

narrowed categories, to a search-term approach instead. The search terms

and requested date ranges were then narrowed multiple times and the

search terms were prioritized and further reduced and delivered on Friday,

November 24.

     Following the GBI report that disclosed the existence of Ms.

Hampton’s CCBOER emails, on October 6, 2023, Plaintiffs’ emailed renewed

request to CCBOER for responsive records (Doc. 1-20 at 6) and on October

17, 2023, Plaintiffs conferred by letter with CCBOER’s counsel (Doc. 1-18).

This action was then file don October 24, 2023 (Doc. 1). Since those events,

only approximately 40 unique election-related emails have been produced

by CCBOER, (over 60 duplicate emails were produced). Almost two months

have passed with minimal production of responsive records from CCBOER

that were in CCBOER’s possession during the Curling discovery period.

     2. Emails and Documents Located on GBI Desktop Image

     In the seven business days since Plaintiffs obtained the GBI image,

which required expert preparation time and the time-consuming

                                     2
   Case 5:23-mc-00001-LGW-BWC Document 30 Filed 12/04/23 Page 3 of 14




establishment of security protocols, Plaintiffs have conducted initial reviews

of approximately 6,000 emails, and hundreds of documents, filtering the

population to approximately 950 emails and dozens of other documents that

are potentially responsive to the original subpoenas.

     The examples of findings explained below can be verified by expert

declarations at the appropriate time.     Plaintiffs are highlighting herein

examples of documents located on the desktop computer image to

demonstrate the urgent need for the Court to compel the production of

responsive records. The GBI desktop, while quite useful, contains a limited

subset of responsive documents for numerous reasons explained below.

     a. Communications concerning voting system component security and
        server password changes (Exhs. 1- 3)

     CCBOER withheld highly relevant records of communications in

response to the Secretary of State investigator.     Those communications

reported on the unsecure condition of certain machines and components

when Election Supervisor James Barnes took office in April 2021. (Exh. 1)

CGG obtained the August 24, 2021 report from a citizen who received it in

response to an Open Records Request in April 2023 (after close of discovery).

Examination of the GBI image recently identified related documents in


                                      3
    Case 5:23-mc-00001-LGW-BWC Document 30 Filed 12/04/23 Page 4 of 14




Barnes’s emails including the Secretary of State office’s request for the report

statement and an email showing Barnes shared a draft of the report with

Lowndes County Election Supervisor Deb Cox, seeking comments from her.

(Exh. 2)   Ms. Cox’s response instructed Barnes to delete as untrue his

statement that the Secretary of State’s office had replaced the election server

because of an unauthorized password change, stating that while the SOS had

removed the server, it was not because the password had been changed.

(Exh. 3) The password change has been the continuing excuse of CCBOER

and the Secretary of State for the undocumented June 8, 2021 server

replacement and the improper removal of all electronic databases and

related public records from the county, without keeping local copies of

records required by law to be preserved. Mr. Barnes removed the password

change assertion in his final version sent to Josh Blanchard, Secretary of

State’s investigator.

      These withheld documents are exceptionally relevant to Plaintiffs’

claims and discovery goals. The withholding of the documents prevented

Plaintiffs from conducting discovery on the alarming assertions in the

withheld documents. Barnes’s emails were preserved and presumably

archived by the county email archiver, which suggests a less than complete
                                       4
   Case 5:23-mc-00001-LGW-BWC Document 30 Filed 12/04/23 Page 5 of 14




search and production by CCBOER. These emails are not “lost” Hampton

documents.

      b. Potential additional video security camera may have been identified

     Documents suggesting that there was a fourth undisclosed security

camera and recording made by that camera have been found in emails

located on the county archiver and on the GBI image. Such documents were

responsive to the subpoenas issued by Plaintiffs but were not previously

produced. (Exhs. 4, 5 (annotated))

     After months of denials by CCBOER that any security video from the

period of the breaches existed in response to CGG’s Open Records Act

requests and Plaintiffs’ 2022 subpoenas, CCBOER’s response to a request by

the GBI for the video exposed the existence of the highly relevant recordings.

Those recordings were not produced until August and September 2022.

CCBOER belatedly produced to Plaintiffs a total of three interior video

camera recordings.      Because the interior videos were disclosed after

Plaintiffs deposed CCBOER’s Rule 30(b)(6) designee, Plaintiffs were

deprived of the opportunity to question the designee regarding this critical

evidence and the events the recordings memorialize.



                                        5
    Case 5:23-mc-00001-LGW-BWC Document 30 Filed 12/04/23 Page 6 of 14




      Newly produced CCBOER emails and GBI-image contained emails

stating that four interior video cameras recorded activities in the CCBOER

office.   On November 26, after locating the first such email, Plaintiffs

requested that CCBOER counsel disclose the number of interior video

cameras that recorded election office activities, but no reply has been

received. 1 These responsive emails were not “lost” emails from Ms.

Hampton’s files but were in the easily searchable files of county staff and

CCBOER counsel handling the public’s and GBI’s request for records.

      c. Request for access to sensitive election records leading to January 7, 2021
         breach

      Preston Haliburton, a Carrollton, Georgia-based attorney, counsel to

Rudy Giuliani and Cathy Latham, 2 wrote Misty Hampton and CCBOER

member Eric Chaney in a previously undisclosed email seeking access to and

testing of certain non-public and highly-sensitive election records. (Exh. 6)




1 It is possible that CCBOER was mistaken in claiming 4 interior videos rather
than 3, but to date have not responded to requests for a representation of the facts.
Of course, had the records been earlier produced, that is a question that could have
been investigated in the Curling discovery process.

2 Latham and Giuliani have both been indicated in the case State of Georgia v.

Donald Trump, et al., No. 23SC188947 (Fulton Cty. Super. Ct).


                                         6
    Case 5:23-mc-00001-LGW-BWC Document 30 Filed 12/04/23 Page 7 of 14




(Haliburton gave his attorney and Robert Cheeley’s3 contact information for

follow up.) This December 31, 2020 email is thought to be the initial written

request to permit the now-infamous unauthorized access to Coffee County’s

election system (the breaches) and records by the Trump allies. Plaintiffs

located this email in the Outlook data files (.ost files) on the GBI desktop

image. No special skills were required to access this highly relevant

document, which disclose previously unknown key facts and identify

individuals involved in this critical aspect of the Curling case.         The

withholding of this document resulted in significant prejudice to Plaintiffs

in the discovery process.

      d. January 9, 2021 follow up email from Haliburton to Hampton

      On January 9, 2021, two days after the initial breach, attorney

Haliburton wrote to Ms. Hampton stating that attorney Cheeley may seek a

court order concerning the request. (Exh. 7) The January 9 email further

states Haliburton’s intent to contact the “city attorney” about the matter. It

seems likely that Haliburton meant county attorney Tony Rowell.




3 Cheeley is also indicted in the Fulton County Trump case.


                                        7
   Case 5:23-mc-00001-LGW-BWC Document 30 Filed 12/04/23 Page 8 of 14




     This highly relevant email was located by Plaintiffs on the GBI image

and has not been produced by CCBOER. The relevance of that document

cannot be overstated, nor can the prejudice caused to Plaintiffs because of

CCBOER’s failure to disclose and produce it. Mr. Cheeley represented

witness Cathy Latham in the deposition Plaintiffs took on August 8, 2022.

No related documents concerning Haliburton’s intended call to Mr. Rowell

have been produced. Plaintiffs informed CCBOER of this email on

November 26 after locating it asking that related documents be located and

produced. CCBOER has not responded. These facts point to the need for

diligent searches of county records, including those of Hall Booth Smith

attorneys engaged by CCBOER.

     e. Hampton January 8, 2021 declaration emailed to CCBOER Counsel

     On May 13, 2021, Election Director James Barnes sent an email to

CCBOER counsel Tony Rowell along with a signed declaration dated

January 8, 2021, by Misty Hampton concerning alleged irregularities in

operation of the Coffee County voting system. (Exh. 8) Barnes stated that

Hampton had sent the declaration to the Secretary of State. Plaintiffs located

the Barnes email on the GBI image. It was not a Hampton “lost” email and

was presumably on the county archiver and in Mr. Rowell’s files. The

                                      8
    Case 5:23-mc-00001-LGW-BWC Document 30 Filed 12/04/23 Page 9 of 14




responsive email was not disclosed to Plaintiffs, nor was it listed in sufficient

detail in the privilege log for Plaintiffs to evaluate the topic and potential

privilege assertion.

      Further, Barnes’s statement that Hampton sent the Secretary of State

the document implies that Barnes had access to her email to see the

transmittal. This email to Rowell occurred at the time that the Secretary of

State investigators had requested that Barnes review Ms. Hampton’s emails

to determine whether she had had contact with Cyber Ninja CEO Doug

Logan, after Barnes reported finding Logan’s business card in CCBOER’s

office. Without this document, Plaintiffs were denied the opportunity to seek

related relevant information concerning the question of Barnes’s possible

access to Hampton’s purported “lost” emails based on this communication

to Rowell. This email was forwarded to CCBOER counsel on November 26,

seeking related documents. Plaintiffs have received no response.

      3. Spoliation Risk of Hampton’s Desktop Files

      Plaintiffs anticipate that the technical details of this issue will require

an expert declaration in future briefings, but Plaintiffs wish to make the

Court aware in this status report that it appears Ms. Hampton was permitted

to delete files from the desktop in the hours just before and after her

                                       9
   Case 5:23-mc-00001-LGW-BWC Document 30 Filed 12/04/23 Page 10 of 14




termination. Based on previously reviewed documents, Plaintiffs believe

that Eric Chaney, a board member who participated in the breaches, warned

Ms. Hampton of her impending termination the evening before the February

25, 2021 meeting at which she was forced to resign. Plaintiffs’ preliminary

forensic review of the GBI image shows Ms. Hampton deleted certain files

(including business and personal files) between 9:23 and 9:29 am on the

morning she was terminated. Ms. Hampton was terminated at a 3:15 pm

CCBOER meeting. She then returned to her office at 4:05 pm and deleted

additional files at 4:07. Security video shows that the county Human

Resources officer and the Sheriff’s Deputy escorts stayed outside the

supervisor’s office, at a considerable distance, permitting her to have private

access to the office desktop computer, in what can only be described as a

highly irregular termination protocol.

      Plaintiffs raise this issue to emphasize the necessity of thorough

searches of ancillary records under the custody and control of CCBOER

individual members, Hall Booth Smith, and a more diligent search for the

silver laptop used by Hampton in her work. Plaintiffs continue to search for

and attempt to recover deleted documents on the GBI desktop image.

Documents that were deleted on Hampton’s office desktop as well as
                                      10
   Case 5:23-mc-00001-LGW-BWC Document 30 Filed 12/04/23 Page 11 of 14




additional official documents could possibly have been preserved on the

laptop she used. Additionally, breach-related emails could possibly be

found in personal email accounts that may be on the missing laptop.

     Plaintiffs note that the GBI desktop image contains former Election

Supervisor Roberts’s emails only for the period June 12, 2022 through June

12, 2023 when the GBI seized the desktop. Plaintiffs assume that the county

archiver contains her emails for the period December 2021 and June 11, 2022,

to which Plaintiffs have no access, further underscoring the need for robust,

prompt CCBOER searches and complete production of responsive records.

     4. Lack of responsive documents from individual CCBOER member
        files

     CCBOER has produced no additional responsive documents from

individual CCBOER members. For example, Eric Chaney, like most

CCBOER members, produced no documents at all, although he was heavily

involved in the breaches and communicating with Ms. Hampton and others

involved. Numerous 2022 emails between CCBOER members and the

county clerk and CCBOER counsel include CCBOER members stating that

they have no responsive records, but Plaintiffs have located evidence to the

contrary. While this issue can be briefed with supporting documents,


                                     11
   Case 5:23-mc-00001-LGW-BWC Document 30 Filed 12/04/23 Page 12 of 14




Plaintiffs wish to alert the Court that it appears that either CCBOER withheld

numerous responsive records, or official records were spoliated by CCBOER

members.

      5. Summary of Search Status

      In this process, Plaintiffs have discovered that CCBOER has withheld

numerous responsive and highly relevant records, although the review of

the thousands of GBI desktop documents is far from complete. With the

Curling trial date of January 9 fast approaching, it is imperative that

CCBOER must promptly thoroughly search its documents, seek responsive

documents from its agents (Hall Booth Smith and the IT contractor),

accelerate and focus its search of the county archiver, conduct a more

diligent search for the missing laptop (including obtaining appropriate

declarations), and insist that its CCBOER members conduct robust and

diligent searches.


      Respectfully submitted this 4th day of December 2023.

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                                     12
Case 5:23-mc-00001-LGW-BWC Document 30 Filed 12/04/23 Page 13 of 14




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                                13
   Case 5:23-mc-00001-LGW-BWC Document 30 Filed 12/04/23 Page 14 of 14




                        CERTIFICATE OF SERVICE


      I hereby certify that on December 4, 2023, a copy of the foregoing

Plaintiffs’ Status Report on Search Results and Process was electronically

filed with the Clerk of Court using the CM/ECF system which will

automatically send notification of such filing to all attorneys of record.


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                                      14
